Case 2:18-cv-02545-KHV Document 624-49 Filed 05/02/22 Page 1 of 10




                EXHIBIT 69
       Case 2:18-cv-02545-KHV Document 624-49 Filed 05/02/22 Page 2 of 10




                                                                   Page 1

 1                IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS
 2
 3      LAMONTE McINTYRE, et al.,)
                                        )
 4                       Plaintiffs, )
                                        )
 5      vs.                             ) 2:18-cv-02545-KHV-KGG
                                        )
 6      UNIFIED GOVERNMENT OF           )
        WYANDOTTE COUNTY AND            )
 7      KANSAS CITY, KANSAS,            )
        et al.,                         )
 8                                      )
                         Defendants. )
 9
10
11
12                       VIDEOTAPE DEPOSITION OF RONALD LEE
13      MILLER, a Witness, taken on behalf of the
14      Plaintiffs, before Alison A. Tracy, Missouri
15      CCR No. 554, Kansas CSR No. 1525, pursuant to
16      Notice, on the 20th day of December, 2021, at
17      Lathrop GPM LLP, 2345 Grand, Suite 2200, Kansas
18      City, Missouri.
19
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  Case 2:18-cv-02545-KHV Document 624-49 Filed 05/02/22 Page 3 of 10



                                                 Page 54                                                      Page 56
 1             MS. EVERS GUERRA: Join.                      1      Q. You reviewed your deposition from 2012,
 2             MR. COOPER: Join.                            2   correct?
 3      Q. (By Ms. Pilate) Did you ever -- I will           3      A. I did.
 4   reask it. Did you ever, at any point prior to          4      Q. And do you recall the questions in there
 5   2015, hear from anyone that Roger Golubski had         5   about Roger Golubski having contact with
 6   sexual contact in his office at the police             6   prostitutes?
 7   department with black females?                         7      A. If I recall correctly, the question
 8             MR. ROACH: Same objection.                   8   was -- if I recall correctly, there was a
 9             MS. EVERS GUERRA: Join.                      9   separation in that thing about prostitutes and
10      A. Not that I recall.                              10   people in the projects, people working in the
11      Q. (By Ms. Pilate) You never heard that            11   quote, projects, end quote. At this moment I
12   from a single person?                                 12   think there was a separation of those two. And
13             MR. ROACH: Object to form.                  13   so the question was -- the issue was did his
14      A. That's the third time you have asked me,        14   informant network include prostitutes. I don't
15   and the answer is the same. I do not recall that      15   know that it did, but I don't know that it did
16   at this moment. I do not recall ever being told       16   not. It may very well have. That would not be
17   that, no.                                             17   unusual if it did.
18      Q. (By Ms. Pilate) Okay. Did anyone ever           18            MS. EVERS GUERRA: Is this a good
19   raise with you the issue of Roger Golubski's          19   time for a break, if you don't mind? We have
20   informant network? And again, turn your               20   been going about an hour and 20 minutes.
21   attention to the period before 2015.                  21            MS. PILATE: Okay, fine.
22             MR. ROACH: Object to form.                  22            THE VIDEOGRAPHER: Please stand by.
23      A. I knew that -- command staff knew that          23   The time is 10:50 a.m. and we are going off the
24   Roger Golubski had an informant network. He was       24   record.
25   assigned to the criminal investigation division       25            (Short recess was taken.)
                                                 Page 55                                                      Page 57
 1   or the detective bureau, whatever title you want       1           THE VIDEOGRAPHER: The time is
 2   to put on that, he was assigned there as a             2   11:20 a.m. and we are back on the record.
 3   detective, and it was known that he had                3         (Exhibit 152 was marked.)
 4   informants that he worked to get information. So       4      Q. (By Ms. Paras) We are back on the
 5   yes, the answer to that is yes, we knew that he        5   record after a break. Mr. Miller, before the
 6   had an informant network. Most detectives do.          6   break there was reference made by you to a prior
 7   Most detectives who have been around a long time       7   deposition. Do you recall giving a deposition on
 8   develop informants, that's what they do as             8   September 14, 2012 in the case styled Seifert v.
 9   detectives.                                            9   Unified Government of Wyandotte County and Kansas
10      Q. (By Ms. Pilate) Did you learn anything          10   City, Kansas?
11   about who his network was composed of?                11      A. Yes, ma'am.
12      A. No. Everyone knows that Roger Golubski          12      Q. You will be relieved to know I will not
13   had an affinity for black females. He was             13   be asking you about the entire deposition but I
14   married to an African American woman for some         14   do have questions about a couple of pages. I'm
15   time. But who his informants were or what             15   going to hand you an exhibit. I believe I have
16   activity he may have been involved with them was      16   enough copies for everyone. I'm handing you what
17   not widely known, and I didn't know that he was       17   I have marked as Exhibit 152. If you could take
18   involved with African American females other than     18   a quick look at this and see if you can identify
19   to know he had an informant network and that          19   this document?
20   probably some of them were African American           20      A. Yes, it appears to be a reproduction of
21   females and others.                                   21   my deposition from September 14, 2012.
22         So it was known that he had an informant        22      Q. Okay. And a portion thereof, correct?
23   network, but that's not unusual. That's               23      A. Yes, a portion thereof.
24   acceptable police practice to develop informant       24      Q. What we have are the cover page, and
25   networks to get information.                          25   then pages 33 to 36 and then 65 through 76. Does

                                                                                               15 (Pages 54 - 57)
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  Case 2:18-cv-02545-KHV Document 624-49 Filed 05/02/22 Page 4 of 10



                                                  Page 62                                                     Page 64
 1   department?                                             1   every one of his officers. And there is a
 2      A. No.                                               2   difference between the rumor mill, what you may
 3      Q. Did you ever learn of it at any time              3   hear about in every organization, and I suspect
 4   afterward?                                              4   even law offices, rumors about things that occur,
 5      A. From the media.                                   5   but the question is what do you have that is an
 6      Q. Okay. Other than from the media, have             6   allegation that can be investigated or proven.
 7   you heard about that situation?                         7         I won't go down that road unless you
 8      A. No. And I never heard about that until            8   want to. You have to be able to prove these
 9   I read that story in the media. Didn't know             9   things. You hear a lot of things over a long
10   that.                                                  10   time.
11      Q. On the next page of this deposition you          11      Q. (By Ms. Pilate) I understand what you
12   were asked a question about why you might not          12   are saying here. And people keep talking about
13   have been told about this, and you answered, "I        13   rumors. A rumor can be the same thing as an
14   would -- it gives me an opportunity to say you         14   allegation, correct?
15   can't assume the Chief knows everything." Do you       15      A. No.
16   see that?                                              16            MR. COOPER: Object to form.
17      A. Yes.                                             17      Q. (By Ms. Pilate) Well, if someone says
18      Q. Is that true, that the Chief does not            18   something and it travels through the office and
19   know everything?                                       19   you are able to trace that to a particular
20      A. It is absolutely true in every law               20   person, then that becomes an allegation, right?
21   enforcement agency in the United States.               21      A. No.
22      Q. Okay. So, would it be fair to say,               22      Q. If somebody says I have information that
23   then, that your subordinates didn't tell you           23   Roger Golubski is spending time with and having
24   things?                                                24   relations with black females who live in the
25            MR. COOPER: Object to form.                   25   housing projects, is that something you would
                                                  Page 63                                                     Page 65
 1      A. Yes, that would be fair.                          1   want to know more about?
 2      Q. (By Ms. Pilate) Was there any training            2      A. Yes.
 3   or policy that would have required them to report       3      Q. Did anyone ever say that to you?
 4   an allegation as serious as that to you?                4      A. No.
 5      A. Yes.                                              5      Q. You never knew at any point that Roger
 6      Q. And if such a situation occurred and it           6   Golubski had relations with women in the housing
 7   was not reported to you, would that officer or          7   projects?
 8   officers who were aware of it, would they have          8            MR. ROACH: Object to form.
 9   violated policy?                                        9            MS. MEYER: Object to form.
10      A. They would.                                      10            MR. COOPER: Join.
11            MR. COOPER: Object to form.                   11            MS. EVERS GUERRA: Join.
12      Q. (By Ms. Pilate) Okay. Thank you. Did             12      A. If we go back, which we don't have to
13   anyone ever discuss with you what you called           13   do, if we go back to the way you framed the
14   Golubski's affinity for African American females?      14   question, I would agree with you. "I have
15            MR. ROACH: Object to form.                    15   information that some officer is doing something
16      A. The term affinity is my term. I knew             16   illegal in the projects of KCK." "Really? Okay.
17   that he, if you will, was attracted to black           17   Tell me more." That's an allegation. What do
18   females. He was married to a black female for          18   you have? What do you know? Tell me what you
19   some number of years. I know that he had family        19   know.
20   but I don't know anything about his family. All        20      Q. (By Ms. Pilate) If you heard something
21   I knew is that he was married.                         21   like that, would you go to people in your
22         Having since read all of those accounts          22   department and say hey, I heard this, do you know
23   laid out in the media, there is information that       23   anything about it, can you run this down for me?
24   I learned recently, that I did not know, because       24      A. Commanding officers would have been
25   the Chief may not know about the personal life of      25   expected -- that may not rise to the level of the

                                                                                                17 (Pages 62 - 65)
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  Case 2:18-cv-02545-KHV Document 624-49 Filed 05/02/22 Page 5 of 10



                                                  Page 66                                                    Page 68
 1   Chief. But commanding officers would most likely        1   when you say something to someone that you
 2   hear about that before the upper level command          2   supposedly heard it from, they go well, I don't
 3   staff might, because they work alongside those          3   really have any information on that, that's just
 4   guys every day. Some of their peers may have            4   something I heard. Oh really? Or, if Bauer
 5   known something. I have read an affidavit.              5   never told anybody that he had encountered that
 6       Q. Let me ask you this. Are you aware of            6   situation and never told anybody at the time, how
 7   any of these so-called rumors?                          7   do you follow up on something that nobody
 8             MR. ROACH: Object to form.                    8   reported?
 9             MR. COOPER: Join.                             9         If there were rumors out there and no
10       Q. (By Ms. Pilate) Were you aware of any           10   allegations and you have nothing upon which to
11   of these so-called rumors with respect to Roger        11   base an investigation, and you have to have a
12   Golubski?                                              12   witness, a complainant's statement, come and make
13             MR. ROACH: Same objection.                   13   a complainant's statement, back many years ago.
14             MS. EVERS GUERRA: Join.                      14   A lot of those procedures and policies have
15             MR. COOPER: Object to form, not              15   changed over the years, but it used to be that
16   specific as to time.                                   16   someone would have to come forward and make a
17       A. Straight answer, you hear rumors every          17   complaint.
18   day. If you haven't heard a rumor by 10:00 a.m.,       18         I get it that they might be too scared
19   it is an unusual day. You hear rumors every day.       19   to do that. But somebody has to come forward and
20   So the question would be, are they consistent,         20   make a complaint. This is America. This is a
21   are you hearing the same rumor over and over           21   free country. Officers have rights. You
22   again, have you heard the same rumor from              22   represent officers who have rights who you have
23   different people, what do you have. And the            23   defended.
24   reality is, I don't have any hard facts that           24      Q. Mr. Miller, hang on here a minute. I'm
25   indicate Roger Golubski ever did anything wrong.       25   not talking about officers having rights. What I
                                                  Page 67                                                    Page 69
 1      Q. (By Ms. Pilate) Let me ask you this.              1   am asking you is if you heard that Roger Golubski
 2   If you hear a rumor, you can investigate a rumor,       2   was having relations with women in the housing
 3   right?                                                  3   projects, and the housing projects where he
 4      A. If you investigated rumors, Ms. Pilate,           4   policed and had so-called sources, wouldn't you
 5   that's all you would do all day is investigate          5   want to get more information about that?
 6   rumors. No, you don't generally investigate             6            MR. ROACH: Object to form.
 7   rumors.                                                 7            MS. MEYER: Object to form.
 8      Q. If you hear that Roger Golubski, let's            8            MR. COOPER: Object to form.
 9   just say a for instance, is having sexual               9            MS. EVERS GUERRA: Join.
10   relations with black females in the projects --        10      A. And I never heard anybody ever tell me
11   let me just ask you, is that a rumor you would         11   that.
12   want to investigate?                                   12      Q. (By Ms. Pilate) Not a single person
13             MR. ROACH: Object to form.                   13   ever told you Roger --
14             MS. MEYER: Object to form.                   14      A. No.
15             MR. COOPER: Object to form.                  15      Q. What about did anyone ever tell you
16             MS. EVERS GUERRA: Join.                      16   Roger Golubski was seen driving on Quindaro with
17      Q. (By Ms. Pilate) If you heard it any              17   black females?
18   time?                                                  18            MR. ROACH: Object to form.
19      A. I would call that an allegation.                 19            MS. EVERS GUERRA: Join.
20   Because the way you worded it, in the way you          20      A. No, no one has told me that. Prior to
21   worded it as an attorney, I would call that an         21   2015, no one has told me that.
22   allegation. Really? Well then we need to find          22      Q. (By Ms. Pilate) No one ever told you
23   out what's going on. Tell me more. What do you         23   that Roger Golubski was known to have sexual
24   know. Where did you hear that? Who told you            24   relationships with African American women in the
25   that? Well let's go find out about that. Then          25   community?

                                                                                               18 (Pages 66 - 69)
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  Case 2:18-cv-02545-KHV Document 624-49 Filed 05/02/22 Page 6 of 10



                                                 Page 70                                                     Page 72
 1            MR. ROACH: Object to form.                    1   could call in Roger Golubski and say hey, we are
 2            MS. MEYER: Object to form.                    2   hearing these things about you?
 3            MS. EVERS GUERRA: Join.                       3             MR. COOPER: Object to form.
 4      A. He was married to an African American            4      Q. (By Ms. Pilate) Are you having
 5   woman in the community, so that would not be           5   relations with women in the housing projects?
 6   unusual.                                               6             MS. MEYER: Object to form.
 7      Q. (By Ms. Pilate) Let's put that aside.            7             MR. ROACH: Object to form.
 8   Aside from his marriage to Ethel Golubski, who is      8             MS. EVERS GUERRA: Join.
 9   now Ethel Abbott, I believe, did you ever hear         9             MR. COOPER: Join.
10   that Roger Golubski had relationships with women      10      Q. (By Ms. Pilate) Could someone ask him
11   in that north end community?                          11   that?
12            MR. ROACH: Object to form.                   12      A. So let's dissect that a moment. If you
13            MS. MEYER: Object to form.                   13   call an officer in to discuss the potential
14            MR. COOPER: Form.                            14   violation of law or rules and regulations, that
15      A. I don't mean to dissect your question.          15   officer under Weingarten has a right to be
16   Relations as in she is an informant, she lives in     16   represented. Then the representative, whether
17   the projects, somebody he --                          17   that is a union member or a steward, comes in and
18      Q. (By Ms. Pilate) Personal sexual                 18   says Chief, do you have specific allegations
19   relations.                                            19   about our officer? No, I have only got rumor.
20      A. Or sexual relations, whether that of any        20   Well, we categorically deny that and we are
21   kind of what we would all normally refer to as        21   leaving.
22   sexual relations. No.                                 22          You have nothing, Cheryl, unless you
23      Q. You never heard one time that Roger             23   have allegations that have a foundation that are
24   Golubski had sexual relations with any black          24   supported by investigateable truth or allegation,
25   female in the north end, other than his wife          25   investigateable facts. Rumors are everywhere.
                                                 Page 71                                                     Page 73
 1   Ethel?                                           1             Q. So you are saying in your department you
 2           MR. ROACH: Object to form.               2         could not ask someone if they, an officer or a
 3           MS. MEYER: Object to form.               3         detective, if they had a relationship or
 4      Q. (By Ms. Pilate) Is that true?              4         relationships with women in the community that
 5      A. That is true. Who exactly would know       5         might put them in a situation where they could,
 6   that with certainty unless they were there when 6          for instance, have a conflict of interest?
 7   it happened. It is rumor. It is all rumor.       7                    MR. ROACH: Object to form.
 8      Q. Mr. Miller, let me ask you this. Your      8                    MS. MEYER: Object to form.
 9   department is full of trained investigators,     9             A. Yes, the answer to your question is yes
10   right?                                          10         if you knew about it to ask the question.
11           MR. COOPER: Object to form.             11             Q. (By Ms. Pilate) What if you hear about
12      Q. (By Ms. Pilate) Correct?                  12         it, isn't that something you want to follow up
13      A. Yes.                                      13         on? Yes or no.
14      Q. You investigate allegations all the       14                    MR. COOPER: Object to form.
15   time, correct?                                  15                    MS. MEYER: Object to form.
16      A. Yes.                                      16             Q. (By Ms. Pilate) Just yes or no. I just
17      Q. And investigate crimes all the time?      17         want to know if you hear this, if you want to
18      A. Yes.                                      18         follow up.
19      Q. And you have an Internal Affairs unit,    19                    MR. ROACH: Join.
20   right?                                          20                    MS. MEYER: Object to form.
21      A. Yes.                                      21                    MR. COOPER: Join.
22      Q. And you also have an expectation that     22                    MS. EVERS GUERRA: Join.
23   your officers will tell you the truth, right?   23             A. The answer is yes, and that would be the
24      A. Yes.                                      24         responsibility, it would be assigned to the
25      Q. And so would it be possible someone       25         commanding officer or the supervisors of that
                                                                                               19 (Pages 70 - 73)
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  Case 2:18-cv-02545-KHV Document 624-49 Filed 05/02/22 Page 7 of 10



                                                 Page 102                                                   Page 104
 1   issue. The question is, if any of the officers          1   foreign to me, let's put it that way, that's not
 2   in your department heard something like this, is        2   foreign to me. I understand police procedure.
 3   that something they should have turned over for         3   And I was never assigned to the detective bureau
 4   investigation?                                          4   so I did not work with Roger Golubski in the
 5      A. Yes, ma'am, I would say yes they should           5   detective bureau. I did not supervise the
 6   have.                                                   6   detective bureau. So investigative methods and
 7      Q. That's all I want to know. Now, let's             7   practices are not my area of responsibility --
 8   go back to your deposition. If you could please         8   not my area of specialty, let's put it that way.
 9   look at page 73. You can see there between lines        9   I suppose I am responsible for the policies as
10   11 and 14 -- it wasn't me asking these questions,      10   the Chief.
11   it was apparently my co-counsel, asking about          11          But, the point being, investigative
12   people down in the projects where he, meaning          12   methods, investigative sources, that's not
13   Roger Golubski, was working, females other than        13   foreign to me that those kind of things can
14   his wife. And you answered, "You hear a lot of         14   happen, various methods that they do. And so if
15   things in 34 years and you also learn things you       15   he had an informant network that included African
16   never knew before, but there were -- that's not        16   American females, and African American males,
17   foreign to me, let's put it that way, that's not       17   that's not foreign to me.
18   foreign to me." What did you mean by that that's       18      Q. What if the network were almost entirely
19   not foreign to me?                                     19   composed of African American females?
20      A. It is very straightforward. Even though          20            MR. ROACH: Object to form.
21   Mr. Kerns was asking the questions, you were           21      Q. (By Ms. Paras) Would that raise a
22   sitting right next to him the entire time, so you      22   question for you?
23   know the exchange and recall the exchange. My          23            MS. MEYER: Object to form.
24   point is that you hear a lot of things and that's      24            MS. EVERS GUERRA: Join.
25   not foreign to me. Roger was a detective in the        25      A. It would raise a question in my mind,
                                                 Page 103                                                   Page 105
 1   minority community. Roger worked a lot of               1   yes. But, I don't know that I ever heard that
 2   homicides that involved African American victims        2   they were all African American females. My point
 3   in our community. And so Roger Golubski is a            3   in that answer in the deposition was, that kind
 4   white detective, and there were other white             4   of thing is not foreign to me. I get that. I
 5   detectives, but Roger is a white detective              5   was a police Chief a long time. I get that.
 6   working minority community homicides. So, they,         6      Q. (By Ms. Paras) Okay. Then, and you are
 7   meaning the detectives, have to develop                 7   correct, I was at this deposition, but I'm not
 8   informants, informant networks and get people to        8   going by my memory, I'm going by what's in the
 9   talk to them and all that kind of thing. So, it         9   transcript here. You also make the point that
10   is not foreign to me for that kind of thing to         10   the Chief has to be careful about what you are
11   happen.                                                11   going to get into and the things that are
12         And the reference of the question was,           12   duty-related and personal life are separate as
13   I'm not talking about that. I'm talking about          13   long as the conduct is not a violation of policy
14   people down in the projects where he was working,      14   or a violation of law. Correct?
15   females other than his wife. Well, you hear a          15      A. Correct.
16   lot of things in 34 years. You hear a lot of           16      Q. And that raises the question of, what is
17   things that police officers may have been              17   policy? Were officers ever trained -- we have a
18   supposed to have done. So, you run                     18   lot of young male officers and you have a
19   investigations on the allegations that come            19   vulnerable female population, a poor,
20   forward and you try to pay attention to other          20   impoverished, sometimes drug-addicted population.
21   things.                                                21   Was there any treating or teaching that these
22         So, it is not foreign to me that -- the          22   women cannot be victimized by officers, that
23   issue is not foreign to me that he would be            23   officers should not be targeting them for sexual
24   talking to people down in the projects, working        24   relations?
25   with females other than his wife, that's not           25            MR. ROACH: Object to form.

                                                                                            27 (Pages 102 - 105)
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  Case 2:18-cv-02545-KHV Document 624-49 Filed 05/02/22 Page 8 of 10



                                                 Page 226                                                   Page 228
 1      Q. And you have training on this?                    1   have referred to him, were doing the things that
 2      A. Yes.                                              2   needed to be done, holding them accountable for
 3      Q. And you have discipline imposed for               3   the actions of their subordinates.
 4   failure to comply, correct?                             4      Q. So would it be your testimony here today
 5      A. Yes. And all of those things occurred             5   that you would expect that Lieutenant Culp would
 6   or have occurred. Numerous cases.                       6   have closely supervised the detectives in this
 7      Q. Okay. Now, I think you said you were              7   case?
 8   not ever a detective so you are not testifying          8            MS. EVERS GUERRA: Object to form.
 9   here today as an expert in what happened in the         9      A. I would testify that if Culp was a
10   detective bureau in the 1990's, would that be          10   lieutenant in homicide at the time of this case,
11   correct?                                               11   he would have solid knowledge of this case and
12      A. Correct.                                         12   would be a very valuable person for you to talk
13      Q. So you are not here to testify about the         13   to. Only he is dead, along with a lot of these
14   kind of supervision they received, is that right?      14   other guys.
15      A. Well, to some degree, correct. But I             15      Q. (By Ms. Pilate) Yes, we are aware.
16   also know that Dennis Barber, Dennis Ware, Steve       16      A. You would benefit from a deposition from
17   Culp, those guys were commanding officers in the       17   Steve Culp. But that's not going to happen.
18   criminal investigation division. Steve Culp was        18      Q. So you would expect that he would know
19   a Deputy Chief in charge of those investigations.      19   everything that Roger Golubski did or didn't do?
20   So even though I may not be -- have not worked         20            MR. ROACH: Object to form.
21   there, Culp worked there, and I know what Culp,        21            MS. MEYER: Object to form.
22   what kind of person Culp was on how he supervised      22            MS. EVERS GUERRA: Object to form.
23   detectives in the bureau and the standards in the      23      A. Absolutely not. If Roger Golubski was
24   detective bureau and the standards that he held        24   secretive and doing stuff on his own and no one
25   his people accountable to. But I can't give you        25   knew, Culp would have no idea.
                                                 Page 227                                                   Page 229
 1   specifics because those commanders deal with            1      Q. (By Ms. Pilate) Well, put aside sex
 2   those situations. But, generally speaking, those        2   with witnesses and all that. I'm talking about
 3   commanders in the criminal investigation division       3   the investigation itself. Would he have known,
 4   or detective bureau know those procedures and           4   by reviewing reports or talking to Golubski, what
 5   policies and would hold their detectives                5   Golubski had done or not done in the case?
 6   accountable to those policy violations or rule          6            MR. ROACH: Object to form.
 7   violations that they may become aware of.               7            MS. MEYER: Object to form.
 8      Q. That actually takes me to what I wanted           8            MS. EVERS GUERRA: Object to form.
 9   to ask you next, which is, how closely did Culp         9            MR. COOPER: Join.
10   supervise the detectives who worked for him?           10      A. Providing Golubski wrote a report on
11      A. I'm sorry. How closely did he supervise          11   this case that was being reviewed or critiqued by
12   them?                                                  12   commanders, and coming from the position of an
13      Q. Correct.                                         13   advocate for the other side of the investigation.
14      A. I think he supervised them pretty                14   An example would be, in 2013 the IACP produced an
15   closely. He was the homicide commander at one          15   published a wrongful convictions document. It is
16   point. Although I can't tell you whether Roger         16   worth finding and reading, because wrongful
17   Golubski was there at the same time he was,            17   convictions are a problem, and no one should be
18   because Culp was in and out of that division           18   wrongfully convicted. But it happens. So the
19   depending on who the Chief was.                        19   IACP set about trying to develop a model
20         Culp was very knowledgeable, Culp was            20   procedure for police departments to adopt to
21   ethically driven, and a man of integrity. So he        21   lessen the impact or the potential for wrongful
22   would want to make sure that those investigations      22   conviction.
23   were being conducted properly. But the                 23         Now, as it turns out, I was involved in
24   commanding officers of the various units,              24   that because I was the co-chairman of the IACP's
25   including Kobe as we have, Captain Kobe as we          25   forensics committee, and in that document lists

                                                                                            58 (Pages 226 - 229)
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  Case 2:18-cv-02545-KHV Document 624-49 Filed 05/02/22 Page 9 of 10



                                                 Page 230                                                   Page 232
 1   the work that our committee did to contribute to        1   the way we are going to go, yes. And he did a
 2   the wrongful convictions document. So was Barry         2   good job of that, and so did Sam Breshears.
 3   Scheck of the Innocence Project. He is cited in         3      Q. It is my understanding based on the
 4   that document, and some other people. But that          4   Rule 26 non-retained witness disclosure that you
 5   came out in 2013 when I was the Chief in Topeka.        5   may be offering opinions about the individuals
 6         One of those things that the wrongful             6   involved in this case. So let's just kind of
 7   convictions document describes are eyewitness           7   quickly go through them. I think we just hit
 8   identification, misidentification of witnesses,         8   Mr. Culp. Do you have an opinion about W.K.
 9   how photo arrays are supposed to be conducted,          9   Smith?
10   who should be conducting them, checklists that         10      A. W.K. Smith, or otherwise known as
11   are gone down to make sure that things are --          11   William K. Smith, but he was known as W.K., was a
12   boxes are being checked in investigations. A           12   detective, was a seasoned detective, been there
13   person of some healthy criticism making                13   for a long time. I don't recall that W.K. Smith
14   detectives defend what they are doing and why          14   set the world on fire being an investigator who
15   they are doing it in the investigation.                15   was really aggressive and tenacious in his
16         So, those were recognized as problems            16   investigation of cases, but W.K. Smith was a good
17   that existed. But that's 2013. We are talking          17   detective, from what I know, and that his
18   about the early nineties when things may not have      18   evaluations were normal for a detective. And
19   been quite that clearcut or research done. So          19   worked in the detective bureau a long time, very
20   Steve Culp is a guy who has a lot of experience,       20   knowledgeable person, African American who had a
21   very ethically driven, and would have been             21   lot of contacts in the minority community.
22   involved with his detectives on homicide               22      Q. I think we just we went through Culp,
23   investigations, considering that there may have        23   but I have one other question, maybe sort of sort
24   been as many as 60, 70, 75 a year, a lot, and          24   of a hierarchy thing. Who did Culp report to if
25   multiple homicide investigative teams, so that         25   he was the lieutenant over the detectives? Where
                                                 Page 231                                                   Page 233
 1   somebody is kind of coordinating those actions so       1   did you go up from there?
 2   that the lieutenant has a general idea of what          2      A. As a lieutenant he would have reported
 3   they are doing but he may not be there joined to        3   to either the captain of the criminal
 4   the hip with them doing their investigation. So         4   investigations division or the major of the
 5   he would know those kind of things, but he might        5   criminal investigations. And the reason I
 6   not know everything every detective did every           6   differentiate those two is there weren't always
 7   minute.                                                 7   captains assigned to the bureau but there was
 8      Q. Based on your knowledge of Culp you               8   always a major assigned to the bureau. As a unit
 9   would expect him to know the course of the              9   commander he would have reported to the director
10   investigation, the things that were done and not       10   of investigations division.
11   done, and to be able to spot gaps or things that       11      Q. And that person would have been
12   needed to be filled in, right?                         12   responsible for making sure Culp did his job,
13             MS. MEYER: Object to form.                   13   just as Culp was responsible for the detectives
14             MS. EVERS GUERRA: Object to form.            14   beneath him, would that be correct?
15             MS. COOPER: Join.                            15      A. Yes, ma'am.
16             MR. ROACH: Object to form.                   16      Q. Okay. And Culp at the time was a
17      A. Yes.                                             17   lieutenant and that was a rank that was done away
18      Q. (By Ms. Pilate) So generally you had a           18   with at some point, is that right?
19   high opinion of him as a supervisor?                   19      A. Yes. If you are talking about with
20      A. Steve Culp and I did not always agree,           20   regard to this specific case, back when the
21   but I don't want deputy chiefs that agree with me      21   double homicide occurred, I think Culp would have
22   every minute. If three people agree, two of them       22   been a lieutenant at that time in the homicide
23   are unnecessary. So I want Culp to tell me what        23   unit. I think.
24   he knows and be able to defend his position, and       24      Q. He was.
25   if he is right, I agree with him, okay, that's         25      A. So, later he promoted up, and then later

                                                                                            59 (Pages 230 - 233)
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 Case 2:18-cv-02545-KHV Document 624-49 Filed 05/02/22 Page 10 of 10



                                                Page 242                                                  Page 244
 1      Q. Any other opinions on Dennis Ware?               1   mold of those guys and some of them -- some
 2      A. I know of nothing in Dennis Ware's               2   didn't like him. But as far as I know, there are
 3   background that would impugn his integrity             3   people, Ware, Culp, other folks who would have
 4   either. He was a commander in my command staff.        4   more specific knowledge. We knew that he had an
 5   Those guys knew what they were supposed to be          5   informant network. We knew that he liked black
 6   doing and were supposed to be doing it.                6   women, young black women. We knew that he was
 7      Q. James, I'm going to say it wrong --              7   working those networks and getting information,
 8      A. Krstolich?                                       8   but he could come up with information, so he
 9      Q. Yes.                                             9   worked those cases.
10      A. James Krstolich, the Vietnam veteran,           10          And eventually he promoted to the rank
11   joined the police department after I did, maybe       11   of captain, because there is a promotion process
12   two, three years, came on the police department       12   defined in the union agreement that lets union
13   in the mid 1970's, as I recall. Was a Vietnam         13   rank officers ascend into management up through
14   veteran who had seen combat in Vietnam.               14   that process and Roger did that.
15   Krstolich was a patrol officer. I worked with         15          But without going back over all of it,
16   Krstolich in patrol, patrolling the northeast         16   all of the things that you read down that list to
17   area of Kansas City, Kansas, along with several       17   me earlier today, if there were others who knew
18   other officers, but Krstolich was one of those.       18   that to be true, they would have been obligated
19         A friendly guy, good street cop, knew           19   to report it based on this General Order and
20   how to handle situations properly and ethically       20   rules and regulations. And if they didn't, they
21   and did so. Attained the rank of detective, was       21   should have.
22   assigned to the criminal investigation division.      22          I'm not here to defend Roger Golubski.
23   I don't believe he was ever a commanding officer      23   He has attorneys that are very capable of that.
24   so he was a detective in the detective bureau, if     24   I'm not here to defend him. I'm here to answer
25   I'm recalling correctly. And a good guy, kind of      25   your questions. If that happened as alleged,
                                                Page 243                                                  Page 245
 1   a practical joker kind of guy. And then in later 1         that's wrong. But, I have no knowledge. And it
 2   years he was a big guy. He was a big, big guy, 2           is hard for me to understand why he was never
 3   tall, big, just big, heavy, big.                   3       prosecuted, the FBI never made a case on him, Al
 4          But I know of nothing in his background     4       Generish never made a case on him, the KBI never
 5   that would be an integrity-related issue. He too 5         made a case on him. He was never prosecuted.
 6   passed away. Seems to me that he passed away 6             And to argue that all of those people were
 7   about the time of the acquisition of the property 7        somehow complicit and knew about his activity, is
 8   for the Speedway out west in KCK, so about that 8          completely wrong.
 9   timeframe he passed away.                          9              You asked me about Roger Golubski. If
10          There are plenty of guys that I know       10       he was doing things, nobody knew about them. And
11   negative things on. None of the people you have 11         so had there been information that would have
12   mentioned so far are any of those people I know. 12        resulted in knowledge that would have formed a
13      Q. Okay. What about Roger Golubski, are 13              foundation for an investigation, I would have
14   you providing any opinions about him?             14       investigated him and looked him in the eye, just
15      A. Well, obviously I would refer you back 15            like I did other people, and said that's
16   to the things that Mr. Kerns wanted to know in 16          inappropriate conduct, you got to go, brother.
17   the 2012 deposition. Roger was you known as a 17                  But no one knew, certainly I did not
18   detective. Some of the other detectives didn't    18       know; because if I had, I would have done
19   like him because -- initially didn't like him     19       something about it.
20   because he kept his informants close to the vest. 20          Q. So that's your testimony is that no one
21   He worked those cases. He wasn't necessarily a 21          knew?
22   team player sharing information. If there         22          A. If they knew, they weren't telling
23   were -- the detective division is a different     23       anybody else. And even Kobe says he didn't know.
24   kind of a place in terms of cops who work there. 24        In his deposition he said he didn't know. Ruby
25   And Golubski may not have quite fit in to that 25          Ellington in her affidavit says everybody knew.

                                                                                           62 (Pages 242 - 245)
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